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                                                                                                      E-FILED
                                                                 Monday, 07 December, 2020 11:40:08 AM
                                                                            Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

  DARTAVIUS BARNES,                                )
                                                   )
                Plaintiff,                         )
                                                   )
  vs.                                              )
                                                   )                 No. 20-cv-3265
  CITY OF SPRINGFIELD, a municipal                 )
  corporation, COLTON REDDING,                     )
  BRIAN RIEBLING, ADAM                             )
  WESTLAKE, JUAN RESENDEZ,                         )
  NICHOLAS RENFRO, and REGAN                       )
  MOLOHON,                                         )
                                                   )
                Defendants.                        )



    DEFENDANTS’ ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES


        NOW COME Defendants, City of Springfield, Colton Redding, Brian Riebling, Adam

Westlake, Juan Resendez, Nicholas Renfro, and Regan Molohon, by and through their attorneys,

Steven C. Rahn and Emily A. Fancher, Assistant Corporation Counsels for the City of Springfield,

and for their Answer to the Complaint and Affirmative Defenses, state as follows:


                                       INTRODUCTION


       1.      Plaintiff brings this matter to redress the harms caused to Plaintiff by Defendants,
City of Springfield, Illinois, a municipal corporation, Officer Colton Redding, Officer Brian
Riebling, Officer Adam Westlake, Officer Juan Resendez, Officer N icholas Renfro, and Officer
Regan Molohon. Plaintiff brings this matter seeking damages for the various violations of the




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laws of the United States and State of Illinois arising from Defendants' acts and omissions
resulting in harm to Plaintiff.

ANSWER:        Defendants ADMIT the allegations in Paragraph 1 of the Complaint accurately

               reflect the allegations within this Complaint, but DENY the veracity of the

               allegations that Plaintiff’s rights were violated.


                                 JURISDICTION AND VENUE


        2.      This case is brought under 42 U.S.C. § 1983 to redress the deprivation under color
of law of Plaintiff s rights as secured by the United States Constitution (Counts I-III), and claims
under Illinois state law (Count IV-VII).

ANSWER:        Defendants ADMIT the jurisdictional allegations in Paragraph 2 of the Complaint,

               but DENY the allegations in Paragraph 2 to the extent any civil rights violations

               and/or personal torts occurred regarding the allegations against Defendants in this

               case.


        3.     This Court has jurisdiction of the action under 28 U.S.C. §§ 1331 and 1367. Venue
is proper under 28 U.S.C. § 1391(b).

ANSWER:        Defendants ADMIT jurisdiction and venue are proper as set forth in Paragraph 3 of

               the Complaint.


       4.      On information and belief, all or most of the parties reside in this judicial district,
and the events giving rise to the claims here all occurred within this district.

ANSWER:        Defendants ADMIT the allegations in Paragraph 4 of the Complaint.


                                             PARTIES


        5.      Plaintiff Dartavius Barnes (“Plaintiff”) is a citizen of the United States and citizen
of the State of Illinois.

ANSWER:        Defendants ADMIT the allegations in Paragraph 5 of the Complaint.



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      6.      Defendant City of Springfield, Illinois is a municipal corporation located at 800
East Monroe, Springfield, Illinois.

ANSWER:        Defendants ADMIT the allegations in Paragraph 6 of the Complaint.


       7.      Defendant Officer Colton Redding Star No. 732 ("Redding") is a citizen of the
United States and citizen of the State of Illinois. At all relevant times herein, Defendant Redding
is/was a sworn peace office and an employee of the City of Springfield, Illinois acting under
color of law. Defendant Redding is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 7 of the Complaint.


        8.     Defendant Officer Brian Riebling Star No. 685 ("Riebling") is a citizen of the
United States and citizen of the State of Illinois. At all relevant times herein, Defendant Riebling
is/was a sworn peace office and an employee of the City of Springfield, Illinois acting under color
of law. Defendant Riebling is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 8 of the Complaint.


        9.     Defendant Officer Adam Westlake Star No. 726 ("Westlake") is a citizen of the
United States and citizen of the State of Illinois. At all relevant times herein, Defendant Westlake
is/was a sworn peace office and an employee of the City of Springfield, Illinois acting under color
of law. Defendant Westlake is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 9 of the Complaint.


        10.     Defendant Officer Juan Resendez ("Resendez") is a citizen of the United States and
citizen of the State of Illinois. At all relevant times herein, Defendant Resendez is/was a sworn
peace office and an employee of the City of Springfield, Illinois acting under color of law.
Defendant Resendez is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 10 of the Complaint.


        11.     Defendant Officer Nicholas Renfro ("Renfro") is a citizen of the United States and
citizen of the State of Illinois. At all relevant times herein, Defendant Renfro is/was a sworn peace
office and an employee of the City of Springfield, Illinois acting under color of law. Defendant
Renfro is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 11 of the Complaint.


       12.     Defendant Officer Regan Molohon Star No. 737 ("Molohon") is a citizen of the
United States and citizen of the State of Illinois. At all relevant times herein, Defendant Molohon


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is/was a sworn peace office and an employee of the City of Springfield, Illinois acting under color
of law. Defendant Molohon is sued in his individual capacity.

ANSWER:        Defendants ADMIT the allegations in Paragraph 12 of the Complaint.


                            FACTS COMMON TO ALL COUNTS


        13.     At all relevant times herein, Defendant City of Springfield, Illinois owned,
controlled, managed, and operated the Springfield Police Department, a department within the City
of Springfield, Illinois.

ANSWER:        Defendants ADMIT the allegations in Paragraph 13 of the Complaint.


        14.    Defendant City of Springfield, Illinois is responsible under respondeat superior for
the conduct of its agents and employees acting within the scope of their employment and under
color of law.

ANSWER:        Defendants DENY the allegations of Paragraph 14 as they apply to Counts I, II and

               III. Defendants ADMIT the allegations of Paragraph 14 as they apply to Counts

               IV, V, and VI.


        15.    At all relevant times herein, Defendants Officer Colton Redding, Officer Brian
Riebling, Officer Adam Westlake, Officer Juan Resendez, Officer Nicholas Renfro, and Officer
Regan Molohon, (collectively referred herein as "Defendants") were acting within the scope of
their employment and under color of law.

ANSWER:        Defendants ADMIT the allegations of Paragraph 15 of the Complaint.


        16.     On April 6, 2020, Plaintiff was lawfully in his vehicle on a public road at or near
the location of 16th and Laurel in Springfield, Illinois.

ANSWER:        Defendants DENY the allegations of Paragraph 16 of the Complaint.


       17.    On April 6, 2020, Plaintiff was stopped and detained by Defendants without a
lawful basis.

ANSWER:        Defendants DENY the allegations of Paragraph 17 of the Complaint.




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       18.     On April 6, 2020, Plaintiff acted lawfully before and during this stop and detention.

ANSWER:        Defendants DENY the allegations of Paragraph 18 of the Complaint.


        19.   On April 6, 2020, during this detention, Plaintiff was not free to leave and was
placed in handcuffs.

ANSWER:        Defendants ADMIT the allegations of Paragraph 19 of the Complaint.


       20.     On April 6, 2020, Defendants searched Plaintiff's person without consent, a valid
warrant, or probable cause.

ANSWER:        Defendants DENY the allegations of Paragraph 20 of the Complaint.


       21.     On April 6, 2020, Defendants also searched Plaintiff's vehicle without consent, a
valid warrant, or probable cause.

ANSWER:        Defendants DENY the allegations of Paragraph 21 of the Complaint.


        22.    On April 6, 2020, as a result of this unlawful search, Defendants took possession
of a sealed urn containing the ashes of Plaintiff's deceased 2-year-old daughter inside Plaintiff’s
vehicle.

ANSWER:        Defendants DENY the allegations of Paragraph 22 of the Complaint.


       23.     On April 6, 2020, Defendants unsealed this urn and opened this urn without consent
and without a lawful basis including a search warrant.

ANSWER:        Defendants DENY the allegations of Paragraph 23 of the Complaint.


        24.     On April 6, 2020, as a result of this unlawful search, Defendants desecrated and
spilled out the ashes of Plaintiff's 2-year-old daughter who died several months earlier.

ANSWER:        Defendants DENY the allegations of Paragraph 24 of the Complaint.


        25.     On April 6, 2020, and at all relevant times herein, Defendants acted knowingly,
intentionally, willfully, and maliciously.

ANSWER:        Defendants DENY the allegations of Paragraph 25 of the Complaint.




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       26.    As a result of Defendants' conduct, Plaintiff suffered harm.

ANSWER:       Defendants DENY the allegations of Paragraph 26 of the Complaint.


                                           COUNT I


    42 U.S.C. § 1983 - FOURTH AMENDMENT (UNLAWFUL SEIZURE) REDDING,
          RIEBLING, WESTLAKE, RESENDEZ, RENFRO, AND MOLOHON

       27.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 26 as paragraph 27 as if restated herein.

ANSWER:       Defendants repeat and reallege their answers to Paragraphs 1 through 26 for their

              answers to Paragraph 27 of the Complaint.


       28.    On April 6, 2020, Defendants seized Plaintiff.

ANSWER:       Defendants DENY the allegations of Paragraph 28 of the Complaint.


       29.     On April 6, 2020, and at all relevant times herein, Defendants did not have a
reasonable suspicion or probable cause that Plaintiff had committed, was committing, or was about
to commit a crime.

ANSWER:       Defendants DENY the allegations of Paragraph 29 of the Complaint.


       30.    On April 6, 2020, Defendants acted under color of law.

ANSWER:       Defendants ADMIT the allegations of Paragraph 30 of the Complaint.


       31.    On April 6, 2020, Plaintiff possessed the right under the Fourth Amendment of the
United States Constitution to be free from unreasonable searches and seizures of his person and
property.

ANSWER:       Defendants ADMIT the allegations of Paragraph 31 of the Complaint.


     32.    On April 6, 2020, Defendants violated Plaintiff s rights secured by the Fourth
Amendment to the United States Constitution.

ANSWER:       Defendants DENY the allegations of Paragraph 32 of the Complaint.




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       33.     As a direct and proximate result of Defendants' conduct, Plaintiff suffered harm.

ANSWER:        Defendants DENY the allegations of Paragraph 33 of the Complaint.


                DEFENDANTS’ AFFIRMATIVE DEFENSE TO COUNT I

        Defendants are entitled to qualified immunity as their conduct was justified by an
objectively reasonable belief that it was lawful.

                                           COUNT II


    42 U.S.C. § 1983 - FOURTH AMENDMENT (UNLAWFUL SEARCH) REDDING,
          RIEBLING, WESTLAKE, RESENDEZ, RENFRO, AND MOLOHON

       34.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 33 as paragraph 34 as if restated herein.

ANSWER:        Defendants repeat and reallege their answers to Paragraphs 1 through 33 for their

               answers to Paragraph 34 of the Complaint.


       35.     On April 6, 2020, Defendants searched Plaintiff and his personal property.

ANSWER:        Defendants ADMIT the allegations of Paragraph 35 of the Complaint.


       36.    On April 6, 2020, and at all relevant times herein, Defendants did not have a search
warrant or valid exception to a search warrant at the time of their search of Plaintiff and his
personal property.

ANSWER:        Defendants DENY the allegations of Paragraph 36 of the Complaint.


       37.     On April 6, 2020, Defendants acted under color of law.

ANSWER:        Defendants ADMIT the allegations of Paragraph 37 of the Complaint.


       38.    On April 6, 2020, Plaintiff possessed the right under the Fourth Amendment of the
United States Constitution to be free from unreasonable searches and seizures of his person and
property.

ANSWER:        Defendants ADMIT the allegations of Paragraph 38 of the Complaint.




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     39.    On April 6, 2020, Defendants violated Plaintiff's rights secured by the Fourth
Amendment to the United States Constitution.

ANSWER:        Defendants DENY the allegations of Paragraph 39 of the Complaint.


       40.     As a direct and proximate result of Defendants' conduct, Plaintiff suffered harm.

ANSWER:        Defendants DENY the allegations of Paragraph 40 of the Complaint.


                DEFENDANTS’ AFFIRMATIVE DEFENSE TO COUNT II

        Defendants are entitled to qualified immunity as their conduct was justified by an
objectively reasonable belief that it was lawful.

                                          COUNT III


                 42 U.S.C. § 1983 - FAILURE TO INTERVENE
    REDDING, RIEBLING, WESTLAKE, RESENDEZ, RENFRO, AND MOLOHON

       41.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 40 as paragraph 41 as if restated herein.

ANSWER:        Defendants repeat and reallege their answers to Paragraphs 1 through 40 for their

               answers to Paragraph 41 of the Complaint.


     42.      On April 6, 2020, Defendants violated Plaintiff’s Fourth Amendment rights when
members of the Springfield Police Department searched Plaintiff and Plaintiff’s personal property.

ANSWER:        Defendants DENY the allegations of Paragraph 42 of the Complaint.


      43.    On April 6, 2020, Defendants knew that members of the Springfield Police
Department were violating Plaintiff’s Fourth Amendment rights.

ANSWER:        Defendants DENY the allegations of Paragraph 43 of the Complaint.


       44.   On April 6, 2020, Defendants had a realistic opportunity to do something to prevent
harm from occurring.

ANSWER:        Defendants DENY the allegations of Paragraph 44 of the Complaint.




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       45.    On April 6, 2020, Defendants failed to take reasonable steps to prevent harm from
occurring.

ANSWER:       Defendants DENY the allegations of Paragraph 45 of the Complaint.


       46.    On April 6, 2020, Defendants' failure to act caused Plaintiff to suffer harm.

ANSWER:       Defendants DENY the allegations of Paragraph 46 of the Complaint.


       47.    On April 6, 2020, Defendants acted under color of law.

ANSWER:       Defendants ADMIT the allegations of Paragraph 47 of the Complaint.


              DEFENDANT’S AFFIRMATIVE DEFENSE TO COUNT III

        Defendants are entitled to qualified immunity as their conduct was justified by an
objectively reasonable belief that it was lawful.

                                          COUNT IV


                           FALSE IMPRISONMENT
             CITY OF SPRINGFIELD, REDDING, RIEBLING, WESTLAKE,
                      RESENDEZ,_ RENFRO, AND MOLOHON

       48.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 47 as paragraph 48 as if restated herein.

ANSWER:       Defendants repeat and reallege their answers to Paragraphs 1 through 47 for their

              answers to Paragraph 48 of the Complaint.


      49.     On April 6, 2020, Defendant City of Springfield, Illinois, by and through its
employees and/or agents Defendants Redding, Riebling, Westlake, Resendez, Renfro, and
Molohon, restrained Plaintiff.

ANSWER:       Defendants ADMIT the allegations of Paragraph 49 of the Complaint.


       50.    On April 6, 2020, Defendants City of Springfield, Illinois, by and through
Defendants Redding, Riebling, Westlake, Resendez, Renfro, and Molohon acted without having
reasonable grounds or probable cause to believe that the plaintiff committed an offense.

ANSWER:       Defendants DENY the allegations of Paragraph 50 of the Complaint.



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      51.     As a direct and proximate result of the aforesaid acts and/or omissions by
Defendants, Plaintiff sustained harm.

ANSWER:       Defendants DENY the allegations of Paragraph 51of the Complaint.


               DEFENDANTS’ AFFIRMATIVE DEFENSES TO COUNT IV

1.     Defendants are entitled to qualified immunity as their conduct was justified by an
       objectively reasonable belief that it was lawful.

2.     Defendants are immune from liability under the Illinois Tort Immunity Act.

                                          COUNT V

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
             CITY OF SPRINGFIELD, REDDING, RIEBLING, WESTLAKE,
                      RESENDEZ,_ RENFRO, AND MOLOHON

       52.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 51 as paragraph 52 as if restated herein.

ANSWER:       Defendants repeat and reallege their answers to Paragraphs 1 through 51 for their

              answers to Paragraph 52 of the Complaint.


       53.    On April 6, 2020, the conduct of Defendant City of Springfield, Illinois, by and
through its employees and/or agents Defendants Redding, Riebling, Westlake, Resendez, Renfro,
and Molohon, was truly extreme and outrageous.

ANSWER:       Defendants DENY the allegations of Paragraph 53 of the Complaint.


      54.    On April 6, 2020, Defendants City of Springfield, Illinois, by and through
Defendants Redding, Riebling, Westlake, Resendez, Renfro, and Molohon either intended that his
conduct would cause severe emotional distress or knew that there was a high probability that this
conduct would do so.

ANSWER:       Defendants DENY the allegations of Paragraph 54 of the Complaint.


      55.     As a direct and proximate result of the aforesaid acts and/or omissions by
Defendants, Plaintiff sustained injuries of severe emotional distress.

ANSWER:       Defendants DENY the allegations of Paragraph 55 of the Complaint.




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               DEFENDANTS’ AFFIRMATIVE DEFENSES TO COUNT V

1.     Defendants are entitled to qualified immunity as their conduct was justified by an
       objectively reasonable belief that it was lawful.

2.     Defendants are immune from liability under the Illinois Tort Immunity Act.

                                          COUNT VI

               NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
             CITY OF SPRINGFIELD, REDDING, RIEBLING, WESTLAKE,
                      RESENDEZ, RENFRO, AND MOLOHON

       56.     Plaintiff realleges and incorporates each of the paragraphs of this Complaint
contained in paragraphs 1 through 55 as paragraph 56 as if restated herein.

ANSWER:       Defendants repeat and reallege their answers to Paragraphs 1 through 55 for their

              answers to Paragraph 56 of the Complaint.


      57.     On April 6, 2020, Defendant City of Springfield, Illinois, by and through its
employees and/or agents Defendants Redding, Riebling, Westlake, Resendez, Renfro, and
Molohon, detained Plaintiff and searched Plaintiff s personal property.

ANSWER:       Defendants ADMIT the allegations of Paragraph 57 of the Complaint.


         58.    On April 6, 2020, Defendant City of Springfield, Illinois, by and through its
employees and/or agents Defendants Redding, Riebling, Westlake, Resendez, Renfro, and
Molohon, owed Plaintiff a duty of reasonable care to adhere to the laws of United States and
Illinois during this stop and detention.

ANSWER:       Defendants ADMIT the allegations of Paragraph 58 of the Complaint.


        59.      On April 6, 2020, Defendant City of Springfield, Illinois, by and through its
employees and/or agents Defendants Redding, Riebling, Westlake, Resendez, Renfro, and
Molohon, breached their duty where they unlawfully searched Plaintiff s property including
Plaintiff s urn containing his 2-year-old deceased daughter's ashes.

ANSWER:       Defendants DENY the allegations of Paragraph 59 of the Complaint.


      60.     As a direct and proximate result of the aforesaid acts and/or omissions by
Defendants, Plaintiff sustained injuries of severe emotional distress.

ANSWER:       Defendants DENY the allegations of Paragraph 60 of the Complaint.


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               DEFENDANTS’ AFFIRMATIVE DEFENSES TO COUNT VI

1.     Defendants are entitled to qualified immunity as their conduct was justified by an
       objectively reasonable belief that it was lawful.

2.     Defendants are immune from liability under the Illinois Tort Immunity Act.

       WHEREFORE, Defendants pray this Court dismiss the Complaint and grant Defendants

their costs and any other relief the Court deems just.


             DEFENDANTS DEMAND TRIAL BY JURY ON ALL COUNTS.


                                      RESPECTFULLY SUBMITTED,
                                      s/ Emily A. Fancher
                                      Bar Number 6326875
                                      Attorney for the City of Springfield, Illinois
                                      Assistant Corporation Counsel
                                      Room 313 Municipal Center East
                                      800 East Monroe Street
                                      Springfield, Illinois 62701-1689
                                      Telephone: (217) 789-2393
                                      Fax: (217) 789-2397
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                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

  DARTAVIUS BARNES,                                )
                                                   )
                Plaintiff,                         )
                                                   )
  vs.                                              )
                                                   )                 No. 20-cv-3265
  CITY OF SPRINGFIELD, a municipal                 )
  corporation, COLTON REDDING,                     )
  BRIAN RIEBLING, ADAM                             )
  WESTLAKE, JUAN RESENDEZ,                         )
  NICHOLAS RENFRO, and REGAN                       )
  MOLOHON,                                         )
                                                   )
                Defendants                         )

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:

James C. Pullos
Clifford Law Offices, P.C.
120 N. LaSalle, Ste. 3100
Chicago IL 60602
jcp@cliffordlaw.com


                                     RESPECTFULLY SUBMITTED,
                                     s/ Emily A. Fancher
                                     Bar Number 6326875
                                     Attorney for the City of Springfield, Illinois
                                     Assistant Corporation Counsel
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